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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TENNESSEE


B.E. TECHNOLOGY, L.L.C.,                   )
                                           )
            Plaintiff,                     )   Civil Action No. 12-cv-02767 – JPM-tmp
                                           )
      v.                                   )
                                           )
AMAZON DIGITAL SERVICES, INC.
                                           )
            Defendant.                     )
                                           )
                                           )

B.E. TECHNOLOGY, L.L.C.,                   )
                                           )
            Plaintiff,                     )   Civil Action No. 12-cv-02769 – JPM-tmp
                                           )
      v.                                   )
                                           )
FACEBOOK, INC.
                                           )
            Defendant.                     )
                                           )

B.E. TECHNOLOGY, L.L.C.,                   )
                                           )
            Plaintiff,                     )   Civil Action No. 12-cv-02772 – JPM-tmp
                                           )
      v.                                   )
                                           )
LINKEDIN CORP.,
                                           )
            Defendant.                     )
                                           )

B.E. TECHNOLOGY, L.L.C.,                   )
                                           )
            Plaintiff,                     )   Civil Action No. 12-cv-02781 – JPM-tmp
                                           )
      v.                                   )
                                           )
GROUPON, INC.,
                                           )
            Defendant.                     )
                                           )



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B.E. TECHNOLOGY, L.L.C.,                  )
                                          )
            Plaintiff,                    )   Civil Action No. 12-cv-02782 – JPM-tmp
                                          )
      v.                                  )
                                          )
PANDORA MEDIA, INC.,
                                          )
            Defendant.                    )
                                          )


B.E. TECHNOLOGY, L.L.C.,                  )
                                          )
            Plaintiff,                    )   Civil Action No. 12-cv-02783 – JPM-tmp
                                          )
      v.                                  )
                                          )
TWITTER, INC.,
                                          )
            Defendant.                    )
                                          )


B.E. TECHNOLOGY, L.L.C.,                  )
                                          )
            Plaintiff,                    )   Civil Action No. 12-cv-02823 – JPM-tmp
                                          )
      v.                                  )
                                          )
BARNES & NOBLE, INC.,
                                          )
            Defendant.                    )
                                          )


B.E. TECHNOLOGY, L.L.C.,                  )
                                          )
            Plaintiff,                    )   Civil Action No. 12-cv-02824 – JPM-tmp
                                          )
      v.                                  )
                                          )
SAMSUNG TELECOMMUNICATIONS
                                          )
AMERICA, LLC,
                                          )
            Defendant.                    )
                                          )
                                          )


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                                          )
B.E. TECHNOLOGY, L.L.C.,                  )
                                          )
            Plaintiff,                    )   Civil Action No. 12-cv-02825 – JPM-tmp
                                          )
      v.                                  )
                                          )
SAMSUNG ELECTRONICS AMERICA,
                                          )
INC.,
                                          )
            Defendant.                    )


B.E. TECHNOLOGY, L.L.C.,                  )
                                          )
            Plaintiff,                    )   Civil Action No. 12-cv-02826 – JPM-tmp
                                          )
      v.                                  )
                                          )
SONY COMPUTER ENTERTAINMENT
                                          )
AMERICA LLC,
                                          )
            Defendant.                    )
                                          )

B.E. TECHNOLOGY, L.L.C.,                  )
                                          )
            Plaintiff,                    )   Civil Action No. 12-cv-02827 – JPM-tmp
                                          )
      v.                                  )
                                          )
SONY MOBILE
                                          )
COMMUNICATIONS (USA) INC.,
                                          )
            Defendant.                    )
                                          )

B.E. TECHNOLOGY, L.L.C.,                  )
                                          )
            Plaintiff,                    )   Civil Action No. 12-cv-02828 – JPM-tmp
                                          )
      v.                                  )
                                          )
SONY ELECTRONICS INC.,
                                          )
            Defendant.                    )
                                          )




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B.E. TECHNOLOGY, L.L.C.,                  )
                                          )
              Plaintiff,                  )   Civil Action No. 12-cv-02829 – JPM-tmp
                                          )
      v.                                  )
                                          )
MICROSOFT CORP.,
                                          )
              Defendant.                  )
                                          )
                                          )

B.E. TECHNOLOGY, L.L.C.,                  )
                                          )
              Plaintiff,                  )   Civil Action No. 12-cv-02830 – JPM-tmp
                                          )
      v.                                  )
                                          )
GOOGLE INC.
                                          )
              Defendant.                  )
                                          )
                                          )

B.E. TECHNOLOGY, L.L.C.,                  )
                                          )
              Plaintiff,                  )   Civil Action No. 12-cv-02831 – JPM-tmp
                                          )
      v.                                  )
                                          )
APPLE INC.,
                                          )
              Defendant.                  )
                                          )
                                          )

B.E. TECHNOLOGY, L.L.C.,                  )
                                          )
              Plaintiff,                  )   Civil Action No. 12-cv-02833 – JPM-tmp
                                          )
      v.                                  )
                                          )
PEOPLE MEDIA, INC.
                                          )
              Defendant.                  )
                                          )
                                          )




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B.E. TECHNOLOGY, L.L.C.,                             )
                                                     )
                Plaintiff,                           )    Civil Action No. 12-cv-02834 – JPM-tmp
                                                     )
         v.                                          )
                                                     )
MATCH.COM, LLC,
                                                     )
                Defendant.                           )
                                                     )
                                                     )


B.E. TECHNOLOGY, L.L.C.,                             )
                                                     )
                Plaintiff,                           )    Civil Action No. 12-cv-02866 – JPM-tmp
                                                     )
         v.                                          )
                                                     )
MOTOROLA MOBILITY
                                                     )
HOLDINGS LLC,
                                                     )
                Defendant.                           )
                                                     )



          JOINT INTERIM STATUS NOTICE REGARDING INTER PARTES REVIEWS


         Consistent with the Order Granting Motions to Stay entered in these related patent

infringement actions on December 6, 2013,1 the parties are filing this Notice to apprise the Court

that over the past seven days, the Patent Trial and Appeal Board (“PTAB”) of the United States

Patent and Trademark Office has entered written decisions in the eleven inter partes reviews




1   / The Order Granting Motions to Stay bears differing ECF Numbers among the eighteen
related cases. It is ECF No. 71 in the first listed case, B.E. Technology, LLC v. Amazon Digital
Services, Inc., No. 2:12-cv-02767-JPM-tmp.

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initiated by seven of the defendants during 2014,2 finding that every claim of U.S. Patent

Numbers 6,771,290 and 6,628,314 asserted against any of the eighteen defendants in these

actions is unpatentable.

       The parties will keep the Court informed of material developments, and in the interim are

not requesting that the stay in any action be lifted or that the Court take other action until the

plaintiff decides whether to appeal one or more of the PTAB decisions.



                                               Respectfully submitted:

                                               /s/_Robert E. Freitas (PER CONSENT MVB)
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                                               Counsel for Plaintiff B.E. Technology, L.L.C.




2/ The subject inter partes review proceedings are identified by IPR Number, Patent, Claims,
and Filer in notices previously filed with the Court, one counterpart of which is ECF No. 75 in
Case No. 2:12-cv-02767-JPM-tmp.
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                                   Respectfully submitted:

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                                   Inc.




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                                 CERTIFICATE OF SERVICE

       The foregoing notice having been filed via the Court’s CM/ECF system, a copy is being

automatically served upon all counsel of record for both parties in each of the above-captioned

actions.

                                             /s/ Mark Vorder-Bruegge, Jr.
                                             Mark Vorder-Bruegge, Jr.




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